           Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 1 of 17                   FILED
                                                                                   2018 Sep-26 PM 03:49
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


MOSE MONTGOMERY,                          )
                                          )
       Plaintiff,                         )
                                          )   CIVIL ACTION NO:
v.                                        )   2:18-CV-00835-RDP
                                          )
FRESENIUS USA, INC.,                      )
                                          )
       Defendant.                         )
                                          )

     DEFENDANT’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT
       Defendant     Fresenius   USA     Manufacturing,      Inc.   (“Defendant”     or

“Fresenius”)1 files its Answer and Affirmative Defenses to Plaintiff Mose

Montgomery’s (“Plaintiff” or “Montgomery”) Complaint and states as follows:

                                     ANSWER

I.     JURISDICTION

       1.      Admitted that Plaintiff purports to bring this action pursuant to the

Family and Medical Leave Act (“FMLA”), 29 U.S.C. § 2611, et seq., but denied

that Defendant has violated the foregoing statutes or that Plaintiff is entitled to any

relief whatsoever. Defendant denies all other allegations.



       1
        Plaintiff incorrectly names Fresenius USA, Inc. as the defendant in this case.
Defendant’s proper entity name is Fresenius USA Manufacturing, Inc.
        Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 2 of 17



      2.       Admitted that Plaintiff purports to bring this action pursuant to Ala.

Code § 25-5-11.1, but denied that Defendant has violated the foregoing statute or

that Plaintiff is entitled to any relief whatsoever. Defendant denies all other

allegations.

      3.       Upon information and belief, admitted that Plaintiff is a resident of

Birmingham, Jefferson County, Alabama. Further admitted that venue is proper in

the Northern District of Alabama, Southern Division, pursuant to 28 U.S.C.

§ 1391(b). Defendant denies all other allegations.

      4.       Admitted, except denied that Defendant’s entity name is “Fresenius

Medical Care.”

III. STATEMENT OF FACTS

      5.       Defendant restates and incorporates its responses to paragraphs 1-4

above as if fully set forth herein.

      6.       Denied.

      7.       Denied.

      8.       Admitted.

      9.       Denied.

      10.      Denied.

      11.      Denied.




                                           2
       Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 3 of 17



      12.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      13.    Admitted.

      14.    Admitted that Breitler was Plaintiff’s supervisor.

      15.    Denied.

      16.    Admitted.

      17.    Denied.

      18.    Denied.

      19.    Denied.

      20.    Denied.

      21.    Denied.

      22.    Denied.

      23.    Denied.

      24.    Denied.

      25.    Denied.

      26.    Denied.

      27.    Denied.

      28.    Denied.

      29.    Denied.

      30.    Denied.



                                           3
       Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 4 of 17



      31.    Admitted that Defendant employed an individual named Hailey.

      32.    Denied.

      33.    Admitted that Defendant employed an individual named Tytiana.

      34.    Denied.

      35.    Denied.

      36.    Denied.

      37.    Denied.

      38.    Denied.

      39.    Admitted that Defendant employed an individual named Doretha Hill.

Defendant denies all other allegations.

      40.    Denied.

      41.    Denied.

      42.    Denied.

      43.    Admitted that Plaintiff was issued a written discipline dated July 19,

2017. Defendant denies all other allegations.

      44.    Denied.

      45.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      46.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.



                                           4
        Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 5 of 17



      47.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      48.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      49.    Admitted that Defendant employed an individual named David.

      50.    Denied.

      51.    Denied.

      52.    Denied.

      53.    Denied.

      54.    Denied.

      55.    Denied.

      56.    Denied.

      57.    Denied.

      58.    Admitted that Plaintiff was terminated on November 2, 2017.

Defendant denies all other allegations.

      59.    Denied.

IV. COUNT ONE – FMLA INTERFERENCE

      60.    Defendant restates and incorporates its responses to paragraphs 1-59

above as if fully set forth herein.

      61.    Admitted.



                                           5
        Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 6 of 17



      62.    Admitted.

      63.    Admitted.

      64.    Denied.

      65.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      66.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      67.    Admitted that Defendant provided Plaintiff with FMLA Rights and

Responsibilities. Defendant denies all other allegations.

      68.    Admitted that Defendant provided Plaintiff with a Continuous Own

Health Condition Designation Notice. Defendant denies all other allegations.

      69.    Admitted that Defendant provided Plaintiff with a Health Care

Provider Certification Form (Employee’s Own Health Condition). Defendant

denies all other allegations.

      70.    Denied.

      71.    Denied.

      72.    Denied.

      73.    Denied.

V. COUNT TWO – FMLA TERMINATION




                                           6
        Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 7 of 17



      74.    Defendant restates and incorporates its responses to paragraphs 1-73

above as if fully set forth herein.

      75.    Admitted.

      76.    Admitted.

      77.    Admitted.

      78.    Denied.

      79.    Denied.

      80.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      81.    Admitted that Defendant provided Plaintiff with FMLA Rights and

Responsibilities. Defendant denies all other allegations.

      82.    Admitted that Defendant provided Plaintiff with a Continuous Own

Health Condition Designation Notice. Defendant denies all other allegations.

      83.    Admitted that Defendant provided Plaintiff with a Health Care

Provider Certification Form (Employee’s Own Health Condition). Defendant

denies all other allegations.

      84.    Admitted.

      85.    Denied.

      86.    Denied.

      87.    Denied.



                                           7
        Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 8 of 17



      88.    Denied.

      89.    Denied.

      90.    Denied.

VI. COUNT THREE – FMLA RETALIATION

      91.    Defendant restates and incorporates its responses to paragraphs 1-90

above as if fully set forth herein.

      92.    Admitted.

      93.    Admitted.

      94.    Admitted.

      95.    Denied.

      96.    Denied.

      97.    Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      98.    Admitted that Defendant provided Plaintiff with FMLA Rights and

Responsibilities. Defendant denies all other allegations.

      99.    Admitted that Defendant provided Plaintiff with a Continuous Own

Health Condition Designation Notice. Defendant denies all other allegations.

      100. Admitted that Defendant provided Plaintiff with a Health Care

Provider Certification Form (Employee’s Own Health Condition). Defendant

denies all other allegations.



                                           8
        Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 9 of 17



      101. Admitted.

      102. Denied.

      103. Denied.

      104. Denied.

      105. Denied.

      106. Denied.

      107. Denied.

VII. COUNT FOUR – RETALIATORY DISCHARGE

      108. Defendant restates and incorporates its responses to paragraphs 1-107

above as if fully set forth herein.

      109. Denied.

      110. Denied.

      111. Admitted.

      112. Denied.

      113. Denied.

      114. Denied.

      115. Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      116. Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.



                                           9
       Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 10 of 17



      117. Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      118. Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations and therefore denies the same.

      119. Admitted that Defendant employed an individual named David.

Defendant denies all other allegations.

      120. Denied.

      121. Denied.

      122. Denied.

      123. Denied.

      124. Denied.

      125. Denied.

      126. Denied.

      127. Denied.

      128. Admitted that Plaintiff was terminated on November 2, 2017.

Defendant denies all other allegations.

      129. Denied.

      130. Denied.

      131. Denied.

      132. Denied.



                                          10
       Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 11 of 17



VIII. PRAYER FOR RELIEF

      Defendant denies each and every prayer for relief and denies that Plaintiff is

entitled to the relief requested or to any relief whatsoever.

                                     DEFENSES

      Subject to and without waiving the foregoing, Defendant asserts the

following affirmative defenses:

      1.     Some or all of the Complaint fails to state a claim upon which relief

can be granted.

      2.     Some or all of Plaintiff’s claims are barred to the extent he has failed

to satisfy the prerequisites, jurisdictional or otherwise, to maintain some or all of

the claims asserted.

      3.     Defendant at all times acted in good faith and without retaliatory or

discriminatory intent.

      4.     All actions by Defendant with regard to Plaintiff were made in good

faith compliance with applicable provisions of law, rules, regulations, orders,

interpretations, practices, or enforcement policies.

      5.     Plaintiff’s claims for damages are barred to the extent that he has

failed to act reasonably to mitigate his damages.

      6.     Some or all of Plaintiff’s claims are barred by the doctrines of waiver,

estoppel, after-acquired evidence, and/or unclean hands.


                                          11
       Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 12 of 17



       7.     All of Defendant’s decisions and/or actions were undertaken for

legitimate, non-discriminatory, non-retaliatory, and non-pretextual reasons.

Alternatively, Defendant’s decisions and/or actions challenged as discriminatory or

retaliatory would have been undertaken even had Plaintiff not been in the alleged

protected status.

       8.     Defendant did not authorize, condone, or ratify any alleged unlawful

conduct or statements.

       9.     Plaintiff did not engage in activity that was protected under the

FMLA.

       10.    Defendant did not willfully violate the FMLA.

       11.    Defendant’s acts or omissions with respect to Plaintiff were taken in

good faith and on reasonable grounds for which it believed it was not in violation

of the FMLA.

       12.    Defendant did not act recklessly or with indifference to the protected

rights of Plaintiff.

       13.    Defendant cannot be held liable for liquidated or punitive damages

because any wrongful conduct was contrary to Defendant’s good faith efforts to

comply with the law.

       14.    Plaintiff’s claims for punitive damages are barred because any

imposition of punitive damages against Defendant would constitute a denial of due



                                         12
      Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 13 of 17



process and would be excessive under the Constitutions of the United States and

Alabama.

      15.   Any award of punitive damages claimed by the Plaintiff would be

excessive and would violate the contracts clause and the Fifth, Eighth, and

Fourteenth Amendments of the United States Constitution, as well as the

corresponding sections of the Constitution of the State of Alabama, upon the

following separate grounds:

            a.    An award of punitive damages would violate the Defendant’s

                  right to due process.

            b.    An award of punitive damages would violate the Defendant’s

                  right to equal protection of laws.

            c.    An award of punitive damages would violate the guarantee that

                  excessive fines shall not be imposed.

            d.    An award of punitive damages would violate the prohibition

                  against impairing the obligation of contracts.

            e.    The procedure relating to the imposition of such damages

                  improperly failed to provide objective standards limiting the

                  award of, and amount of, punitive damages.

            f.    The procedures relating to the imposition of such damages

                  improperly allowed the admission of such evidence relevant to



                                          13
       Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 14 of 17



                    punitive damages, in the same proceeding, during which

                    liability and compensatory damages are determined.

      16.    Plaintiff’s claim for punitive damages contravenes Defendant’s

constitutional rights as reserved for a defendant by the Fifth, Eighth, and

Fourteenth Amendments to the United States Constitution, and the corresponding

sections of the Constitution for the State of Alabama, in that punitive damages are

penal and major and tantamount to the imposition of a criminal fine. Further, the

guidelines, standard, and/or instructions for the imposition of punitive damages are

vague, indefinite, and uncertain and set no limit on the damages that can be

awarded. They do not apprise Defendant of the conduct that will subject it to

criminal penalties, they expose it to multiple punishment and fines for the same

conduct, and they discriminate against Defendant on the basis of wealth and that

different amounts can be awarded against different defendants, which may differ

only in material wealth, for the same act.

      17.    Plaintiff’s demand for a jury determination of punitive damages must

be disregarded and/or struck; the amount of punitive damages (if any) is not a fact

to be “tried” by a jury and the right to a jury trial is not implicated. The assessment

of punitive damages (if any) is for the Court to determine as a matter of law.

      18.    Plaintiff’s claim for punitive damages are barred further because the

acts, if any, and omissions, if any, of Defendant, which are specifically denied, fail



                                          14
       Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 15 of 17



to rise to the level required to sustain an award of punitive damages, were trivial

and isolated, were not motivated by evil intent or discrimination, do not evidence a

malicious, oppressive, or fraudulent intent to deny Plaintiff his protected rights or

to harass or to otherwise discriminate or retaliate against Plaintiff, and are not so

wanton and willful as to support an award of punitive damages.

      19.    Defendant cannot be held liable for liquidated or punitive damages

because the employee or employees who committed the alleged discriminatory or

retaliatory behavior were not employed in a managerial capacity such that their

actions may be imputed to Defendant.

      20.    Plaintiff’s claims are barred and Plaintiff’s damages are limited

because Plaintiff is guilty of negligence, wantonness, recklessness, and intentional

acts which proximately caused or contributed to the injuries or damages claimed.

      21.    Defendant pleads the defense of justification.

      22.    No causal relationship can be established between any act or omission

of Defendant and the injuries complained of by Plaintiff.

      23.    Defendant pleads that Plaintiff was an at-will employee.

      24.    Plaintiff was not ready, willing, and able to work.

      25.    Defendant avers that Plaintiff cannot prove legal or medical causation.

      26.    Defendant claims the benefits and protections of Ala. Code §§ 6-11-

20 through 6-11-30, as amended.



                                         15
      Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 16 of 17



      27.   The amount of any compensatory or punitive damage award that

Plaintiff might recover from Defendant, if any, is subject to Ala. Code § 6-11-21

and any other applicable caps on damages.

      28.   Defendant denies all allegations not specifically admitted herein.

      WHEREFORE, Defendant denies that Plaintiff is entitled to any relief

requested in the Complaint. Accordingly, Defendant respectfully requests that the

Court enter judgment in its favor and against Plaintiff, together with costs and fees

associated with this case, and grant such other and further relief as the Court

deems just and proper.


      Respectfully submitted this 26th day of September, 2018.


                                             /s/ M. Jefferson Starling, III
                                             One of the Attorneys for Defendant
                                             Fresenius USA Manufacturing, Inc.



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                                        16
      Case 2:18-cv-00835-RDP Document 15 Filed 09/26/18 Page 17 of 17



                        CERTIFICATE OF SERVICE
      I hereby certify that a true and correct copy of the foregoing has been filed

with the Clerk of the court and furnished electronically, via the CM/ECF Filing

System of the United States District Court for the Northern District of Alabama to

the following on this the 26th day of September, 2018:

Kira Fonteneau
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Ph: (205) 564-9005


                                             /s/M. Jefferson Starling, III
                                             Of Counsel




                                        17
